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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Action No. 21-cv-03440-WJM-KAS

  ERIC COOMER, Ph.D.,

        Plaintiff

  v.

  MAKE YOUR LIFE EPIC LLC dba THRIVETIME SHOW,
  REOPEN AMERICA LLC dba REAWAKEN AMERICA TOUR, and
  CLAYTON THOMAS CLARK, individually,

        Defendants


                                   EXHIBIT 2
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· · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · ·FOR THE DISTRICT OF COLORADO
·
· · · · · · · CIVIL ACTION NUMBER: 1:22-CV-01129-NYW-SKC
·
· · · · · · · · · · · ·ERIC COOMER, PH.D.,
· · · · · · · · · · · · · · ·Plaintiff
·
· · · · · · · · · · · · · · · · V.
·
· · · · · · · ·MICHAEL J. LINDELL, FRANKSPEECH LLC,
· · · · · · · · · · · ·AND MY PILLOW, INC.,
· · · · · · · · · · · · · · Defendants
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· · ·DEPONENT:· JOSEPH OLTMANN
· · ·DATE:· · · DECEMBER 16, 2022
· · ·REPORTER:· DARIANA CABRERA ALVAREZ
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     ·9· ·Telephone No.: (719) 530-3011                      ·9·                                             · 17
     10· ·E-mail: bkloewer@cstrial.com                       10·
     11· ·ccain@cstrial.com                                  11·                                             · 18
     12                                                      12·                                              ·21
     13· ·ON BEHALF OF THE DEFENDANTS, MICHAEL J. LINDELL,   13·                                              ·25
     14· ·FRANKSPEECH LLC, AND MY                            14·                                              ·25
     15· ·PILLOW, INC.:                                      15·
     16· ·Ryan P. Malone, Esquire                            16·                                              ·28
     17· ·Parker, Daniels, Kibort, LLC                       17·                                             · 34
     18· ·123 North Third Street                             18·
     19· ·888 Colwell Building                               19·                                             · 37
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     ·4· ·Law Office of Ingrid J. DeFranco                   ·4·                                              202
     ·5· ·P.O. Box 128                                       ·5·                                              212
     ·6· ·Brighton, Colorado 80601                           ·6·                                              213
     ·7· ·Telephone No.: (303) 443-1749                      ·7·                                              276
     ·8· ·E-mail: ingrid.defranco@gmail.com                  ·8·
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     10· ·Nicholas Teti III - Advanced Legal Videographer    10·                                              314
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     ·1· · · · · · · · · · · · ·STIPULATION                        ·1· · · · · · COURT REPORTER:· Thank you.
     ·2                                                            ·2· · · · · · · · · DIRECT EXAMINATION
     ·3· ·The VIDEO deposition of JOSEPH OLTMANN was taken at      ·3· ·BY MR. KLOEWR:
     ·4· ·UNITED STATES COURTHOUSE, 901 NINETEENTH STREET, ROOM    ·4·
     ·5· ·A502, DENVER, COLORADO 80294 on FRIDAY the 16TH day of   ·5·
     ·6· ·DECEMBER 2022 at approximately 9:00 a.m.; said           ·6·
     ·7· ·deposition was taken pursuant to the FEDERAL Rules of    ·7·
     ·8· ·Civil Procedure.                                         ·8·
     ·9                                                            ·9·
     10· ·It is agreed that DARIANA CABRERA ALVAREZ, being a       10·
     11· ·Notary Public and Court Reporter for the State of        11·
     12· ·COLORADO, may swear the witness and that the reading and 12·
     13· ·signing of the completed transcript by the witness is    13·
     14· ·not waived.                                              14·
     15                                                            15·
     16                                                            16·
     17                                                            17·
     18                                                            18·
     19                                                            19·
     20                                                            20·
     21                                                            21·
     22                                                            22·
     23                                                            23·
     24                                                            24·
     25                                                            25·

                                                           Page 7                                              Page 9
     ·1· · · · · · · PROCEEDINGS                                    ·1·
     ·2                                                             ·2·
     ·3· · · · VIDEOGRAPHER:· We're here, the date is               ·3·
     ·4· ·12-16-2022 for the deposition of Joseph Oltmann.          ·4·
     ·5· ·Case is 1:22-CV-01129-WJM.· We're -- the location is      ·5·
     ·6· ·901 Nineteenth Street, Denver, Colorado.· Let's see       ·6·
     ·7· ·here.· Okay, so -- and -- my name is Nicholas,            ·7·
     ·8· ·T-E-T-I III.· 9534 Castle Ridge Circle, Highlands         ·8·
     ·9· ·Ranch, 80129.· If everybody can introduce themselves      ·9·
     10· ·and then we can proceed.                                  10·
     11· · · · MR. KLOEWR:· All right.· Good morning, this is       11·
     12· ·Brad Kloewr here on behalf of the Plaintiff,              12·
     13· ·Dr. Eric Coomer.· I'm joined by Charlie Cain.             13·
     14· · · · MR. MALONE:· This is Ryan Malone on behalf of        14·
     15· ·Defendants, MyPillow, Frank Speech, Michael Lindell.      15·
     16· · · · MS. DEFRANCO:· Ingrid DeFranco on behalf of          16·
     17· ·Joseph Oltmann, who appears to my right.                  17·
     18· · · · MR. KLOEWR:· You want to swear in the witness?       18·
     19· · · · VIDEOGRAPHER:· We are going to swear in the          19·
     20· ·witness.                                                  20·
     21· · · · COURT REPORTER:· Raise your right hand.· Do you      21·
     22· ·solemnly swear or affirm the testimony you're about       22·
     23· ·to give will be the truth, the whole truth, and           23·
     24· ·nothing but the truth?                                    24·
     25· · · · THE WITNESS:· I do.                                  25·
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     COOMER, PH.D. vs MICHAEL J. LINDELL, et al                                                           Pages 314..317
     JOSEPH OLTMANN, 12/16/2022
                                                        Page 314                                                        Page 316
     ·1· ·immediately afterwards.· You recall that?                  ·1· ·Eric Coomer footage, correct?
     ·2· · · · A· · No, that's not true.· That's not true.· That's   ·2· · · · A· · I did.
     ·3· ·a lie.· That's not true.· That's a lie.· That's a lie.     ·3· · · · Q· · And he didn't tell you at the time that he had
     ·4· · · · Q· · We can take a break and pull the transcripts     ·4· ·a recording of the Zoom call?
     ·5· ·for that, and I can pull up that gab post for you.· What   ·5· · · · A· · No.
     ·6· ·I want to show you right now is what we've -- we'll mark   ·6· · · · Q· · Do you know how Mr. Camp would have a
     ·7· ·as, if I can find the Exhibit title, 56.· Now, you're      ·7· ·recording of the Zoom call?
     ·8· ·aware that Mr. Camp is the individual who posted the       ·8· · · · A· · No idea.
     ·9· ·videos of Dr. Coomer that you've referenced several        ·9· · · · Q· · You told me he was not your conduit to that
     10· ·times today involving the traffic accident, correct?· He   10· ·call, correct?
     11· ·has a big Joey Camp logo on the videos that you've         11· · · · A· · He was not my conduit for that call.
     12· ·showed on Conservative Daily.· You're aware of that?       12· · · · Q· · Okay.· You said --
     13· · · · · · · (EXHIBIT 56 MARKED FOR IDENTIFICATION)          13· · · · A· · And I had never had a conversation with this
     14· · · · A· · All right.· Say that again?                      14· ·guy prior to coming out with this ever.· I'm just
     15· · · · Q· · You're aware that Mr. Camp is the individual     15· ·surprised that --
     16· ·who has gotten the police body cam footage of Dr.          16· · · · Q· · Mr. Oltmann, real quick, I'm going to show you
     17· ·Coomer, that he has posted to the internet, correct?       17· ·what was previously, and -- and, Ryan, I apologize, we
     18· · · · A· · These are terrible.                              18· ·don't have a hard copy of this. I hadn't anticipated
     19· · · · Q· · Is that a yes or no, Mr. Oltmann, you're aware   19· ·needing to refresh Mr. Oltmann on this.· This is what
     20· ·that Mr. Camp --                                           20· ·was admitted as Exhibit PX 131 during your deposition on
     21· · · · A· · I'm reading this.· This is an Exhibit, right?    21· ·September 8, 2021. This is a -- a gab post from Joey
     22· · · · Q· · Yes.                                             22· ·Camp.· I'll read it for you and then I'll show it to
     23· · · · A· · Okay.· So let me read this real quick.· So is    23· ·you.
     24· ·this Joey Camp?                                            24· · · · A· · Okay.
     25· · · · Q· · Yeah.· Claims to be.· And he describes many      25· · · · Q· · Because I want to get this on the record, and

                                                        Page 315                                                        Page 317
     ·1· ·actions that Mr. Camp had taken, and the phone number      ·1· ·I'd like you to focus on listening while I read through
     ·2· ·indicated here is a number that Mr. Camp had used to       ·2· ·this.· Here's Mr. Camp speaking. "When my team preserved
     ·3· ·contact various other individuals across the country at    ·3· ·material from Eric Coomer, we did so because of his
     ·4· ·the same time, including where he provided photos of       ·4· ·connection to Antifa, not because of his connection to
     ·5· ·himself in text messages, other individuals.· I want to    ·5· ·Dominion, which we didn't even know existed before.· The
     ·6· ·direct your attention to the very end of this text         ·6· ·Antifa Manifesto published here by Eric Coomer's address
     ·7· ·message where Mr. Camp states to Dr. Coomer, "You know I   ·7· ·as a would be press release that's acting as a public
     ·8· ·have the Zoom recorded, don't you?"· You see that part?    ·8· ·relations officer for Antifa.· There is no other example
     ·9· · · · A· · Oh, wow.· So does he have the Zoom recorded?     ·9· ·of this manifesto anywhere on the internet."· I believe
     10· · · · Q· · Well, that's my question to you, Mr. Oltmann,    10· ·you've described it as a repost.· You know that's not
     11· ·have you asked him?                                        11· ·accurate.· "While the election is certainly an issue, I
     12· · · · A· · No, I've never seen this before.· I've never     12· ·was/am determined to document and tell the truth about
     13· ·seen this before.                                          13· ·Antifa and their actions.· Eric Coomer is a member of
     14· · · · Q· · No, you wouldn't have --                         14· ·Antifa.· During the phone call with an Eric Coomer on
     15· · · · A· · Where would I've ever --                         15· ·the line with other members of Antifa nationwide, one of
     16· · · · Q· · -- this was a text message that was sent to      16· ·the Antifa members spoke about finding and killing me.
     17· ·Mr. Coomer.                                                17· ·That was the end of last year.· April 2021, Karma 161,
     18· · · · A· · So how would I know that?· I didn't, I've        18· ·and this apparent threat occurred by whatever name his
     19· ·never seen this before in my life.                         19· ·account number was at the time, posted a bounty for my
     20· · · · Q· · Well, he's been a guest on your show.· He has    20· ·life.· The FBI called me to warn me.· Local police in
     21· ·a fundraising page where he prominently features his       21· ·Denver spoke to me about a vacation."· So here we have
     22· ·involvement with Dr. Coomer.                               22· ·Mr. Camp in two instances saying, number one, when my
     23· · · · A· · I've had hundreds of people on my Facebook, on   23· ·team preserved material from Eric Coomer, is he the one
     24· ·my show.                                                   24· ·that gave you the Facebook posts?
     25· · · · Q· · Well, you had him on your show to discuss the    25· · · · A· · No.




                                                                                                                                     YVer1f
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                                                        Page 318           Page 320
     ·1· · · · Q· · Do you know what he's referring to when he       ·1·
     ·2· ·says, "When my team preserved information?"                ·2·
     ·3· · · · A· · Nope.                                            ·3·
     ·4· · · · Q· · Okay.· And here he's describing the contents     ·4·
     ·5· ·of the call.· He says, "During the phone call with Eric    ·5·
     ·6· ·Coomer on the line, with other members of Antifa, one of   ·6·
     ·7· ·the members spoke about finding and killing me.· You       ·7·
     ·8· ·haven't discussed that with him?                           ·8·
     ·9· · · · A· · I did not.                                       ·9·
     10· · · · Q· · Does it surprise you that you've been in         10·
     11· ·contact with Mr. Camp and he's providing you               11·
     12· ·information, he's been a guest on your show, and he has    12·
     13· ·been claiming to have been the one to discover Eric        13·
     14· ·Coomer and to have preserved information --                14·
     15· · · · A· · Where did he say that in there, that he          15·
     16· ·discovered Eric Coomer?                                    16·
     17· · · · Q· · When my team preserved material from Eric        17·
     18· ·Coomer, we did so because of his connection to Antifa,     18·
     19· ·not because of his connection to Dominion.· Meaning his    19·
     20· ·investigation would've proceeded yours, because you knew   20·
     21· ·he was Dominion from the start, by your allegations,       21·
     22· ·correct?                                                   22·
     23· · · · A· · So then, yeah, but that doesn't say that he's    23·
     24· ·-- he wasn't involved in any of this.                      24·
     25· · · · Q· · Well --                                          25·

                                                        Page 319           Page 321
     ·1· · · · A· · He's not the one that gave me access to the      ·1·
     ·2· ·Facebook post.· He's not the one that gave me -- none of   ·2·
     ·3· ·that -- none of that is true.                              ·3·
     ·4·                                                             ·4·
     ·5·                                                             ·5·
     ·6·                                                             ·6·
     ·7·                                                             ·7·
     ·8·                                                             ·8·
     ·9·                                                             ·9·
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     22·                                                             22·
     23·                                                             23·
     24·                                                             24·
     25·                                                             25·
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                                                        Page 366                                                      Page 368
     ·1·                                                           ·1· ·with video, as well.
     ·2·                                                           ·2· · · · COURT REPORTER:· Okay.· And then Ms. DeFranco?
     ·3·                                                           ·3· · · · MS. DEFRANCO:· He's reading, please.· Reading
     ·4·                                                           ·4· ·and signing.
     ·5·                                                           ·5· · · · · (DEPOSITION CONCLUDED AT 5:02 P.M.)
     ·6·                                                           ·6
     ·7·                                                           ·7
     ·8·                                                           ·8
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     18·                                                           18
     19·                                                           19
     20·                                                           20
     21·                                                           21
     22·                                                           22
     23·                                                           23
     24· · · · · · VIDEOGRAPHER:· For the record I have 5:00.      24
     25· · · ·Sorry.                                               25

                                                        Page 367                                                      Page 369
     ·1· · · · MR. KLOEWR:· All right.· Well, we'll call in at     ·1· · · · · · · · · ·CERTIFICATE OF REPORTER
     ·2· ·that then.                                               ·2· · · · · · · · · · · STATE OF COLORADO
     ·3· · · · VIDEOGRAPHER:· Okay.· The time is 5:01 p.m.         ·3
     ·4· ·Let's see, the 17th. Let me --                           ·4· ·I do hereby certify that the witness in the foregoing
     ·5· · · · THE WITNESS:· I have some stuff that I have to      ·5· ·transcript was taken on the date, and at the time and
     ·6· ·provide?                                                 ·6· ·place set out on the Stipulation page hereof by me
     ·7· · · · VIDEOGRAPHER:· Yeah, so doesn't include what we     ·7· ·after first being duly sworn to testify the truth, the
     ·8· ·asked for today.                                         ·8· ·whole truth, and nothing but the truth; and that the
     ·9· · · · MR. MALONE:· For today.                             ·9· ·said matter was recorded digitally by me and then
     10· · · · VIDEOGRAPHER:· For today of 12-16 -- at -- at       10· ·reduced to typewritten form under my direction, and
     11· ·12-16-2022.· This is the conclusion of this              11· ·constitutes a true record of the transcript as taken,
     12· ·particular deposition on this day, case                  12· ·all to the best of my skills and ability. I certify
     13· ·1:22-CV-0129-WJF.                                        13· ·that I am not a relative or employee of either counsel,
     14· · · · COURT REPORTER:· Okay.· And then before I go        14· ·and that I am in no way interested financially,
     15· ·off the record, Mr. Kloewr, how did you want a copy      15· ·directly or indirectly, in this action.
     16· ·of the transcript?                                       16
     17· · · · MR. KLOEWR:· Our usual arrangement if you've        17
     18· ·got that on file. Otherwise, I want it expedited         18
     19· ·e-transcript.                                            19
     20· · · · MR. MALONE:· Yeah.                                  20
     21· · · · MR. KLOEWR:· Yeah.                                  21
     22· · · · COURT REPORTER:· Okay.· And then did you want a     22· ·DARIANA CABRERA ALVAREZ,
     23· ·copy of the video?                                       23· ·COURT REPORTER / NOTARY
     24· · · · MR. KLOEWR:· Yes.                                   24· ·COMMISSION EXPIRES ON: 10/22/2025
     25· · · · MR. MALONE:· We'll take electronic condensed        25· ·SUBMITTED ON:· 12/29/2022
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     COOMER, PH.D. vs MICHAEL J. LINDELL, et al                            Pages 370..371
     JOSEPH OLTMANN, 12/16/2022
                                                               Page 370
     ·1· · · · · · · · · · ·Errata Sheet
     ·2· ·NAME OF CASE:· · · ·COOMER, PH.D. vs MICHAEL J. LINDELL, et al
     ·3· ·DATE OF DEPOSITION: 12/16/2022
     ·4· ·NAME OF WITNESS:· · JOSEPH OLTMANN
     ·5· ·Reason Codes:· 1. To clarify the record.
     ·6· · · · · · · · · 2. To conform to the facts.
     ·7· · · · · · · · · 3. To correct transcription errors.
     ·8· ·Page _____ Line ______ Reason ______
     ·9· ·From _______________________ to _______________________
     10· ·Page _____ Line ______ Reason ______
     11· ·From _______________________ to _______________________
     12· ·Page _____ Line ______ Reason ______
     13· ·From _______________________ to _______________________
     14· ·Page _____ Line ______ Reason ______
     15· ·From _______________________ to _______________________
     16· ·Page _____ Line ______ Reason ______
     17· ·From _______________________ to _______________________
     18· ·Page _____ Line ______ Reason ______
     19· ·From _______________________ to _______________________
     20· ·Page _____ Line ______ Reason ______
     21· ·From _______________________ to _______________________
     22· ·Page _____ Line ______ Reason ______
     23· ·From _______________________ to _______________________
     24· · · · · · · · · · · · · · · · ·_________________________
     25· · · · · · · · · · · · · · · · ·JOSEPH OLTMANN

                                                               Page 371
     ·1· · · · · · · · ·WITNESS CERTIFICATION
     ·2
     ·3· · · · · · ·I hereby certify that I have read the
     ·4· ·foregoing transcript of my deposition testimony,
     ·5· ·and that my answers to the questions propounded,
     ·6· ·with the attached corrections or changes, if
     ·7· ·any, are true and correct.
     ·8
     ·9
     10
     11
     12
     13· ·____________· · · · ·__________________________
     · · ·DATE· · · · · · · · ·JOSEPH OLTMANN
     14
     15
     16
     17· · · · · · · · · · · · __________________________
     · · · · · · · · · · · · · PRINT NAME
     18
     19
     20· ·JOB 438887
     21· ·COOMER, PH.D. vs MICHAEL J. LINDELL, et al
     22
     23
     24
     25
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     COOMER, PH.D. vs MICHAEL J. LINDELL, et al                        Page 369
     JOSEPH OLTMANN, 12/16/2022

·1· · · · · · · · · ·CERTIFICATE OF REPORTER
·2· · · · · · · · · · · STATE OF COLORADO
·3
·4· ·I do hereby certify that the witness in the foregoing
·5· ·transcript was taken on the date, and at the time and
·6· ·place set out on the Stipulation page hereof by me
·7· ·after first being duly sworn to testify the truth, the
·8· ·whole truth, and nothing but the truth; and that the
·9· ·said matter was recorded digitally by me and then
10· ·reduced to typewritten form under my direction, and
11· ·constitutes a true record of the transcript as taken,
12· ·all to the best of my skills and ability. I certify
13· ·that I am not a relative or employee of either counsel,
14· ·and that I am in no way interested financially,
15· ·directly or indirectly, in this action.
16
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22· ·DARIANA CABRERA ALVAREZ,
23· ·COURT REPORTER / NOTARY
24· ·COMMISSION EXPIRES ON: 10/22/2025
25· ·SUBMITTED ON:· 12/29/2022
Case No. 1:21-cv-03440-WJM-KAS Document 143-2 filed 06/07/24 USDC Colorado pg 10
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     February 3, 2023

     Via Electronic Mail
     Brad Kloewr
     Cain & Skarnulis PLLC
     303 Colorado Street, Suite 2850
     Austin, TX 78701

     RE: 1:22-cv-01129-WJM (CO)

     Deposition of: Joseph Oltmann
     Taken: December 16, 2022
     Case: Eric Coomer, Ph. D vs. Michael J. Lindell, Frankspeech LLC, and My Pillow, Inc
     Signature: Reserved

     YOU ARE HEREBY NOTIFIED that the following items listed below have been served upon
     you for filing, as you deem necessary:

          Exhibits (Copy/Original)

          Deponent Errata and/or Signature Page (Copy/Original)

          Reporter Certification

       X Correspondence Letters

       X Other: As of today’s date our office has not received the witnesses errata or signature page.

      Feel free to contact our office should you have any questions.


                                                    Respectfully,


                                                     Production
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     December 30, 2022

     Via Electronic
     Ingrid DeFranco
     Law Office of Ingrid J DeFranco
     P.O. Box 128
     Brighton, CO 80601

     Re:     Deposition of Joseph Oltmann
             Deposition Date: December 16, 2022
             Eric Coomer, Ph. D vs. Michael J. Lindell, Frankspeech LLC, and My Pillow, Inc
             Cause No.: 1:22-cv-01129-WJM (CO)


     Dear Ingrid DeFranco:

     Please have your client read and sign the attached Oral Deposition, making any necessary
     changes on the errata sheet that is provided. Please see below for the amount of time that has
     been given for witness review and signature:

           20 Days on or before

            28 Days on or before

      X __ 30 Days on or before January 29, 2023

            60 days on or before

            Other


     Errata and Signature page should be returned to the address below:

           Attn: Production
           productioncentral@advancedone.com
           2777 N. Stemmons Freeway
           Suite 1025
           Dallas, Texas 75207



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         all counsel in appearance
